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10

11                                   UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

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14   Automated Pet Care Products, LLC d/b/a        Case No. 5-22-cv-04261-SVK
     Whisker, a Michigan corporation,
15                                                 Honorable Vince Chhabria
                        Plaintiff,
16                                                 DEFENDANTS PURLIFE BRANDS, INC.
             vs.                                   AND CHRIS MADEIRAS’ REQUEST FOR
17                                                 JUDICIAL NOTICE IN SUPPORT OF
                                                   DEFEDENDANTS’ MOTION TO
18   PurLife Brands, Inc. d/b/a Smarty Pear, a     DISMISS THE AMENDED COMPLAINT
     Delaware corporation, and Chris Madeiras,
29   an individual,                                Hearing: December 1, 2022
                                                   Time: 10:00 a.m.
20                      Defendants.                Courtroom: 4 – 17th Floor (Zoom Hearing)
                                                   Judge: The Honorable Vince Chhabria
21                                                 Complaint Filed: July 22, 2022
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                                                                               DEFENDANTS’
                                                                                 RJN ISO MTD
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 1        TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that on Decembr 1, 2022, at 10:00 a.m., or as soon thereafter

 3   as the matter may be heard in Courtroom 4 of the above-entitled court located 450 Golden Gate

 4   Avenue, San Francisco, CA 94102, in connection with the hearing on the Motion to Dismiss being

 5   filed herewith, Defendants PurLife Brands, Inc. and Chris Madeiras (collectively, “Smarty Pear”)

 6   will and hereby do request, pursuant to Rule 201 of the Federal Rules of Evidence, that the Court

 7   take judicial notice of the following:

 8              1. Smarty Pear’s Leo’s Loo Too User Manual, cited in FAC at ¶¶ 54, 59, and accessed

 9                  from the website address referenced in those paragraphs. See Van Hoven

10                  Declaration In Support of RJN at ¶ 2.

11              2. United States Trademark Registration No. 4,674,124 for LITTER·ROBOT (design

12                  mark), registered on January 20, 2015, cited in FAC at ¶¶ 32, 135, and accessed via

13                  the United States Patent and Trademark Office (“USPTO”) Trademark Status and

14                  Document Retrieval (“TSDR”) system. See Van Hoven Declaration In Support of

15                  RJN at ¶ 3.

16              3. United States Trademark Registration No. 4,674,125 for LITTER·ROBOT (design

17                  mark), registered on January 20, 2015, cited in FAC at ¶¶ 32, 135, and accessed via

18                  the USPTO’s TSDR system. See Van Hoven Declaration In Support of RJN at ¶ 4.

29              4. United States Trademark Registration No. 6,227,960 for LITTER·ROBOT (design

20                  mark), registered on December 20, 2020, cited in FAC at ¶¶ 32, 135, and accessed

21                  via the USPTO’s TSDR system. See Van Hoven Declaration In Support of RJN at

22                  ¶ 5.

23              5. United States Trademark Registration No. 5,259,515 for LITTER-ROBOT

24                  (standard character mark), registered on August 08, 2017, cited in FAC at ¶¶ 32,

25                  135, and accessed via the USPTO’s TSDR system. See Van Hoven Declaration In

26                  Support of RJN at ¶ 6.

27              6. United States Trademark Registration No. 6,570,005 for LITTER-ROBOT PINCH

28                  DETECT (standard character mark), registered on November 23, 2021, cited in
                                                                                   DEFENDANTS’
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 1      FAC at ¶¶ 32, 135, and accessed via the USPTO’s TSDR system. See Van Hoven

 2      Declaration In Support of RJN at ¶ 7.

 3   7. United States Trademark Registration No. 6,668,860 for LITTER-ROBOT OPEN

 4      AIR (standard character mark), registered on March 08, 2022, cited in FAC at ¶¶

 5      32, 135, and accessed via the USPTO’s TSDR system. See Van Hoven Declaration

 6      In Support of RJN at ¶ 8.

 7   8. United States Trademark Registration No. 6,734,934 for LITTER-ROBOT 3

 8      CONNECT (standard character mark), registered on May 24, 2022, cited in FAC

 9      at ¶¶ 32, 135, and accessed via the USPTO’s TSDR system. See Van Hoven

10      Declaration In Support of RJN at ¶ 9.

11   9. United States Trademark Registration No. 6,734,935 for LITTER-ROBOT 3

12      (standard character mark), registered on May 24, 2022, cited in FAC at ¶¶ 32, 135,

13      and accessed via the USPTO’s TSDR system. See Van Hoven Declaration In

14      Support of RJN at ¶ 10.

15   10. Application History of United States Trademark Application Serial No. 77142737

16      for LITTER ROBOT (standard character mark), and accessed via the USPTO’s

17      TSDR system. See Van Hoven Declaration In Support of RJN at ¶ 11.

18   11. Application History of United States Trademark Serial No. 87202622

29      (corresponding to Registration No. 5,259,515 cited in FAC at ¶¶ 32, 135) for

20      LITTER-ROBOT (standard character mark), and accessed via the USPTO’s TSDR

21      system. See Van Hoven Declaration In Support of RJN at ¶ 12.

22   12. Application History of United States Trademark Serial No. 90503809 (Registration

23      No. 6,734,935 cited in FAC at ¶¶ 32, 135) for LITTER-ROBOT 3 (standard

24      character mark), and accessed via the USPTO’s TSDR system. See Van Hoven

25      Declaration In Support of RJN at ¶ 13.

26   13. Application History of United States Trademark Serial No. 90503805 (Registration

27      No. 6,734,934 cited in FAC at ¶¶ 32, 135) for LITTER-ROBOT 3 CONNECT

28      (standard character mark), and accessed via the USPTO’s TSDR system. See Van
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 1                 Hoven Declaration In Support of RJN at ¶ 14.

 2             14. Application History of United States Trademark Serial No. 90503798 (Registration

 3                 No. 6,668,860 cited in FAC at ¶¶ 32, 135) for LITTER-ROBOT OPEN AIR

 4                 (standard character mark), and accessed via the USPTO’s TSDR system. See Van

 5                 Hoven Declaration In Support of RJN at ¶ 15.

 6             15. Application History of United States Trademark Serial No. 90296230 (Registration

 7                 No. 6,799,211 cited in FAC at ¶¶ 32, 135) for #LITTERROBOT (standard character

 8                 mark), and accessed via the USPTO’s TSDR system. See Van Hoven Declaration

 9                 In Support of RJN at ¶ 16.

10             16. United States Trademark Registration No. 6,799,211 for #LITTERROBO (standard

11                 character mark), registered the supplemental register on July 19, 2022, cited in FAC

12                 at ¶¶ 32, 135, and accessed via the USPTO’s TSDR system. See Van Hoven

13                 Declaration In Support of RJN at ¶ 17.

14             17. Smarty      Pear’s     Video,      Leo’s      Loo      –     How       It   Works,

15                 https://cdn.shopify.com/s/files/1/0639/8921/9573/files/Smarty_Pear_Leo_s_Loo_

16                 Covered_Automatic_Self-

17                 Cleaning_Cat_Litter_Box_How_It_Works_Product_Features_2.mp4?v=1652196

18                 618, cited in FAC at p. 29, n. 22; Ex. 4 at p. 7 (Claim Chart).

29             18. Smarty      Pear      Video,       Leo’s      Loo      Too        Product    Video,

20                 https://cdn.shopify.com/s/files/1/0639/8921/9573/files/30s_Product_Video_final_

21                 2.mp4?v=1652%20196618, cited at FAC p. 29, n. 23; Ex. 4 at p. 7 (Claim Chart).

22             19. Smarty       Pear,      Say       So       Long       To      Scooping       Video,

23                 https://cdn.shopify.com/s/files/1/0639/8921/9573/files/smarty-

24                 pear.mp4?v=1651821590, cited at FAC p. 29, n. 23; Ex. 4 at p. 11 (Claim Chart).

25          A court considering a motion may take judicial notice of undisputed matters of public

26   record. Fed. R. Evid. 201(b)(2) (“The court may judicially notice a fact that is not subject to

27   reasonable dispute because it ... can be accurately and readily determined from sources whose

28   accuracy cannot reasonably be questioned.”). Under the incorporation by reference doctrine,
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 1   courts may consider documents whose contents are alleged in a complaint and whose authenticity

 2   no party questions, but which are not physically attached to the pleading. In re Silicon Graphics

 3   Inc. Sec. Litig., 183 F.3d 970, 986 (9th Cir. 1999); United States v. Ritchie, 342 F.3d 903, 908 (9th

 4   Cir. 2003) (“Even if a document is not attached to a complaint, it may be incorporated by reference

 5   into a complaint if the plaintiff refers extensively to the document or the document forms the basis

 6   of the plaintiff’s claim.”).    The court may consider documents “on which the complaint

 7   ‘necessarily relies’ if: (1) the complaint refers to the document; (2) the document is central to the

 8   plaintiff’s claim; and (3) and no party questions the authenticity of the copy attached to the 12(b)(6)

 9   motion.” Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006) (citations omitted). “The court may

10   treat such a document as ‘part of the complaint, and thus may assume that its contents are true for

11   purposes of a motion to dismiss under 12(b)(6).’” Id. (quoting Ritchie, 342 F.3d at 908).

12          The manual of paragraph 1 above and the video of paragraphs 17-19 above are documents

13   and online videos on which Whisker’s patent infringement allegations and claim charts rely, and

14   which are necessarily incorporated by reference into the FAC:

15         Allegations regarding U.S. Patent No. 7,647,889: The FAC relies on the manual and/or

16          videos at ¶¶ 102-105 and ¶¶ 107-110, while Whiskers’ Ex. 5 to the FAC (allegedly

17          charting Smarty Pear’s Leo’s Loo and Leo’s Loo Too against the ’889 patent) cites to at

18          least one of the above manual or videos at pages 3, 4, 6, 8, 11, 13-16.

29         Allegations regarding U.S. Patent No 9,433,185: The FAC relies on the manual and/or

20          videos at ¶¶ 77-79, 82, 88-90, while Whiskers’ Ex. 4 to the FAC (allegedly charting

21          Smarty Pear’s Leo’s Loo and Leo’s Loo Too against the ’185 patent) cites to at least one

22          of the above manual or videos at pages 3, 6-8, 11, 13-14, 16-20, 22.

23         Allegations regarding U.S. Patent No 11,399,502: The FAC relies on the manual and/or

24          videos at ¶¶ 120, 125, 129, while Whiskers’ Ex. 8 to the FAC (allegedly charting Smarty

25          Pear’s Leo’s Loo and Leo’s Loo Too against the ’502 patent) cites to at least one of the

26          above manual or videos at pages 3, 4, 7, 8, 10, 11-15.

27      “In general, websites and their contents may be judicially noticed.” Threshold Enters. v.

28   Pressed Juicery, Inc., 445 F. Supp. 3d 139, 146 (N.D. Cal. 2020) (collecting cases). For each of
                                                                                      DEFENDANTS’
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 1   these documents, because “the plaintiff refers extensively to the document or the document forms

 2   the basis of the plaintiff’s claim[,]” judicial notice of these materials is appropriate. Ritchie, 342

 3   F.3d at 908; see also Yoon v. Lululemon United States, 549 F. Supp. 3d 1073, 1079 (C.D. Cal.

 4   2021) (“Indeed, the Amended Complaint does not merely mention the website; it extensively

 5   discusses the ways” it supports its claims.).

 6          Similarly, the FAC cites to the US trademark registrations listed in paragraphs 2-10 and

 7   16 above as forming the basis for its trademark allegations. FAC at ¶¶ 32, 135. The registrations

 8   themselves have been accessed from the USPTO’s official TSDR system, which is a publicly

 9   available official government resource for providing such records. “[A] court may take judicial

10   notice of ‘records and reports of administrative bodies.’” Mack v. S. Bay Beer Distribs., 798 F.2d

11   1279, 1282 (9th Cir. 1986) (quoting Interstate Natural Gas Co. v. Southern California Gas Co.,

12   209 F.2d 380, 385 (9th Cir. 1953)); see also Humboldt Wholesale, Inc. v. Humboldt Nation

13   Distribution, LLC, No. C-11-4144 EMC, 2011 U.S. Dist. LEXIS 141293, at *3 n.1 (N.D. Cal.

14   Dec. 8, 2011) (taking judicial notice of trademark registrations and “USPTO Action Letter”).

15          Finally, the trademark application histories of paragraphs 11-15 above are official

16   government records from the USPTO’s official TSDR system of trademark applications by

17   Plaintiff. These records are suitable for consideration with this motion as “records and reports of

18   administrative bodies.” See, e.g., Vineyards v. Cohn, No. 20-cv-07668-BLF, 2021 U.S. Dist.

29   LEXIS 212985, at *2 (N.D. Cal. Nov. 3, 2021) (granting “requests [for] judicial notice of the file

20   histories for . . . registered trademarks”); Threshold, 445 F. Supp. 3d at 145 (“Materials in the

21   online files of the USPTO and other matters of public record are proper subjects of judicial

22   notice.”). With respect to these application histories, Smarty Pear notes that its moving brief

23   provides pinpoint citations to specific portions of the application histories for consideration by

24   the Court.

25          For at least the above reason, the Court may consider the above-listed documents and

26   information in ruling on Smarty Pear’s Motion to Dismiss.

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